                                                                                                  Case 2:23-cv-01034-GMN-BNW           Document 52     Filed 03/18/25    Page 1 of 13



                                                                                              1    KRISTOPHER T. ZEPPENFELD
                                                                                                   Nevada Bar No. 12144
                                                                                              2    kz@vegasvalleylaw.com
                                                                                                   GARRETT B. LOGAN, ESQ.
                                                                                              3
                                                                                                   Nevada Bar No. 15063
                                                                                              4    gbl@vegasvalleylaw.com
                                                                                                   VEGAS VALLEY INJURY LAW
                                                                                              5    710 South Seventh Street, Suite C
                                                                                                   Las Vegas, Nevada 89101
                                                                                              6    Tel: (702) 444-5555
                                                                                                   Fax: (725) 800-7227
                                                                                              7
                                                                                                   Attorney for Plaintiff
                                                                                              8

                                                                                              9                                UNITED STATES DISTRICT COURT
                          Phone: 702.444.5555 • Fax: 725.800.7227




                                                                                             10                                  FOR THE DISTRICT OF NEVADA
VEGAS VALLEY INJURY LAW
                              710 South Seventh Street, Suite C




                                                                                             11    CONSTANCE BENTON, Special Administrator    )
                                   Las Vegas, Nevada 89101

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                                                                                                   of the Estate of ROBERT BARCONIA, JR.,     )        CASE NO. 2:23-cv-01034-GMN-BNW
                                                                                             12    deceased,                                  )
                                                                                             13                                               )
                                                                                                                   Plaintiff,                 )        STIPULATION AND ORDER TO FILE
                                                                                             14                                               )        SECOND AMENDED COMPLAINT
                                                                                                   v.                                         )
                                                                                             15                                               )
                                                                                                   WALMART INC., a Delaware Corporation d/b/a )
                                                                                             16    WALMART SUPERCENTER #3728; BROSNAN )
                                                                                             17    RISK CONSULTANTS, LTD., a New York         )
                                                                                                   Corporation; ANDERSON CONSTRUCTION         )
                                                                                             18    CORP, a Nevada Corporation; DOES I-X and   )
                                                                                                   ROE CORPORATIONS IV-X, inclusive,          )
                                                                                             19                                               )
                                                                                                                    Defendants.               )
                                                                                             20                                               )
                                                                                             21           IT IS HEREBY STIPULATED, by and through their counsel of record, to allow Plaintiff to
                                                                                             22    amend the Complaint to replace Defendant Anderson Construction Corp. with ANDERSON
                                                                                             23    MERCHANDISERS, LLC, a foreign Limited Liability Company.
                                                                                             24    ///
                                                                                             25    ///
                                                                                             26    ///
                                                                                             27

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                                                                                                                                             Page 1 of 3
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                                                                                              1
                                                                                                          IT IS FURTHER STIPULATED that Plaintiff was operating under the assumption that the
                                                                                              2
                                                                                                   entity was Anderson Construction because this is what Walmart claimed in its responses to written
                                                                                              3
                                                                                                   discovery. However, Plaintiff’s counsel has subsequently discovered that the proper entity name is
                                                                                              4
                                                                                                   ANDERSON MERCHANDISERS, LLC, as outlined in Subpoenaed information received from
                                                                                              5
                                                                                                   North Las Vegas Police Department. The proposed Second Amended Complaint is attached as
                                                                                              6
                                                                                                   Exhibit A.
                                                                                              7
                                                                                                        DATED this 17th day of March 2025.
                                                                                              8
                                                                                                    VEGAS VALLEY INJURY LAW                            OLSON CANNON & GORMLEY
                                                                                              9
                          Phone: 702.444.5555 • Fax: 725.800.7227




                                                                                                     /s/ Kristopher T. Zeppenfeld                        /s/ Max E. Corrick, II
                                                                                             10     ________________________________                   ________________________________
VEGAS VALLEY INJURY LAW
                              710 South Seventh Street, Suite C




                                                                                                    KRISTOPHER T. ZEPPENFELD, ESQ.                     MAX E. CORRICK, II
                                                                                             11
                                   Las Vegas, Nevada 89101




                                                                                                    Nevada Bar No. 12144                               Nevada Bar No. 006609
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                                                                                             12     710 S. Seventh Street, Suite C                     9950 West Cheyenne Avenue
                                                                                                    Las Vegas, NV 89101
                                                                                                                                                       Las Vegas, NV 89129
                                                                                             13     Attorneys for Plaintiff
                                                                                                                                                       Attorney for Brosnan Risk Consultants, Ltd.
                                                                                             14
                                                                                                   SKANE MILLS LLP
                                                                                             15
                                                                                                      /s/ Sarai L. Thornton
                                                                                             16    ________________________________
                                                                                                   SARAI L. THORNTON, ESQ. (#11067)
                                                                                             17
                                                                                                   1120 Town Center Drive, Suite 200
                                                                                             18    Las Vegas, Nevada 89144
                                                                                                   Attorneys for Walmart Inc. dba Walmart
                                                                                             19    Supercenter #3728
                                                                                             20                                                 ORDER
                                                                                             21           IT IS HEREBY ORDERED Plaintiff shall amend the Complaint to replace Defendant
                                                                                             22    Anderson Construction Corp. with ANDERSON MERCHANDISERS, LLC, a foreign Limited
                                                                                             23    Liability Company.
                                                                                             24

                                                                                             25

                                                                                             26                                         _______________________________________
                                                                                                                                        UNITED STATES MAGISTRATE JUDGE
                                                                                             27                                         DATED: March 18, 2025
                                                                                             28


                                                                                                                                               Page 2 of 3
                                                                                                  Case 2:23-cv-01034-GMN-BNW          Document 52     Filed 03/18/25   Page 3 of 13



                                                                                              1    Respectfully submitted by:

                                                                                              2    VEGAS VALLEY INJURY LAW
                                                                                              3      /s/_Kristopher T. Zeppenfeld____
                                                                                                   Kristopher T. Zeppenfeld, Esq. (12144)
                                                                                              4
                                                                                                   710 South Seventh Street, Suite C
                                                                                              5    Las Vegas, Nevada 89101
                                                                                                   Attorneys for Plaintiff
                                                                                              6

                                                                                              7

                                                                                              8

                                                                                              9
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                                   Las Vegas, Nevada 89101

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                                                                                                  Case 2:23-cv-01034-GMN-BNW           Document 52    Filed 03/18/25   Page 4 of 13



                                                                                              1    KRISTOPHER T. ZEPPENFELD
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                                                                                              2    kz@vegasvalleylaw.com
                                                                                                   GARRETT B. LOGAN, ESQ.
                                                                                              3
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                                                                                              8    Attorney for Plaintiff

                                                                                              9                                UNITED STATES DISTRICT COURT
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                                                                                             10                                  FOR THE DISTRICT OF NEVADA
VEGAS VALLEY INJURY LAW
                              710 South Seventh Street, Suite C




                                                                                             11
                                   Las Vegas, Nevada 89101




                                                                                                   CONSTANCE BENTON, Special Administrator of )
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                                                                                             12    the Estate of ROBERT BARCONIA, JR., deceased, ) CASE NO. 2:23-cv-01034-GMN-BNW
                                                                                                                                                     )
                                                                                             13                      Plaintiff,                      )
                                                                                             14                                                      ) SECOND AMENDED COMPLAINT
                                                                                                   v.                                                )
                                                                                             15                                                      )
                                                                                                   WALMART INC., a Delaware Corporation d/b/a        )
                                                                                             16    WALMART SUPERCENTER #3728; BROSNAN )
                                                                                                   RISK CONSULTANTS, LTD., a New York                )
                                                                                             17    Corporation; ANDERSON MERCHANDISERS,              )
                                                                                             18    LLC, a foreign Limited Liability Company; DOES I- )
                                                                                                   X and ROE CORPORATIONS IV-X, inclusive,           )
                                                                                             19                                                      )
                                                                                                                     Defendants.                     )
                                                                                             20
                                                                                                          COMES NOW, CONSTANCE BENTON, Special Administrator of the Estate of ROBERT
                                                                                             21
                                                                                                   BARCONIA, JR., deceased (“Plaintiff”), and through her counsel of record, Kristopher T.
                                                                                             22
                                                                                                   Zeppenfeld, Esq., of the law firm of VEGAS VALLEY INJURY LAW, files this Second Amended
                                                                                             23
                                                                                                   Complaint against Defendants WALMART INC. d/b/a WALMART SUPERCENTER #3728,
                                                                                             24
                                                                                                   BROSNAN RISK CONSULTANTS, LTD, a New York Corporation; and ANDERSON
                                                                                             25
                                                                                                   MERCHANDISERS, LLC, a foreign Limited Liability Company (collectively “Defendants”), and
                                                                                             26
                                                                                                   alleges as follows:
                                                                                             27
                                                                                                                                 PARTIES AND JURISDICTION
                                                                                             28
                                                                                                          1.      Plaintiff CONSTANCE BENTON (hereinafter “Plaintiff”) is, and at all times


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                                                                                              1
                                                                                                   mentioned herein, a resident of the County of Shelby, State of Tennessee.
                                                                                              2
                                                                                                          2.     Plaintiff is the Special Administrator of the Estate of Robert Barconia, Jr. (“Mr.
                                                                                              3
                                                                                                   Barconia”), and is and was, at all times mentioned herein, Mr. Barconia’s mother.
                                                                                              4
                                                                                                          3.     At all relevant times herein, Mr. Barconia was an individual residing in Clark County,
                                                                                              5
                                                                                                   Nevada.
                                                                                              6
                                                                                                          4.     At all relevant times herein, Defendant WALMART INC. d/b/a WALMART
                                                                                              7
                                                                                                   SUPERCENTER #3728 (“Defendant Walmart”) was licensed to do business in, and was doing
                                                                                              8
                                                                                                   business in, Clark County, Nevada.
                                                                                              9
                                                                                                          5.     Upon information and belief, and at all relevant times herein, Defendant Walmart was
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                                                                                             10
                                                                                                   the owner and operator of the Wal-Mart Supercenter Store #3728 located at 3950 Lake Mead
VEGAS VALLEY INJURY LAW
                              710 South Seventh Street, Suite C




                                                                                             11
                                   Las Vegas, Nevada 89101




                                                                                                   Boulevard, North Las Vegas, Nevada 89032 (the “Premises”).
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                                                                                             12
                                                                                                          6.     Upon information and belief, and at all relevant times herein, Defendant BROSNAN
                                                                                             13
                                                                                                   RISK CONSULTANTS, LTD (“Defendant Brosnan”) was licensed to do business in, and was doing
                                                                                             14
                                                                                                   business in, Clark County, Nevada.
                                                                                             15
                                                                                                          7.     Upon information and belief, and at all relevant times herein, Defendant Walmart hired
                                                                                             16
                                                                                                   Defendant Brosnan to provide security services at the Premises.
                                                                                             17
                                                                                                          8.     Upon information and belief, and at all relevant times herein, Defendant ANDERSON
                                                                                             18
                                                                                                   MERCHANDISERS, LLC (“Defendant Anderson”) was licensed to do business in, and was doing
                                                                                             19
                                                                                                   business in, Clark County, Nevada.
                                                                                             20
                                                                                                          9.     Upon information and belief, and at all relevant times herein, Defendant Walmart hired
                                                                                             21
                                                                                                   Defendant Anderson to provide services for the Premises.
                                                                                             22
                                                                                                          10.    That the true names and capacities of the Defendants designated herein as Doe or Roe
                                                                                             23
                                                                                                   Corporations are presently unknown to Plaintiff at this time, who therefore sues said Defendants by
                                                                                             24
                                                                                                   such fictitious names. When the true names and capacities of these defendants are ascertained,
                                                                                             25
                                                                                                   Plaintiff will amend this Complaint accordingly.
                                                                                             26
                                                                                                          11.    That at all relevant times herein, Defendants were agents, servants, employees or joint
                                                                                             27
                                                                                                   venturers of every other Defendant herein, and at all times mentioned herein were acting within the
                                                                                             28
                                                                                                   scope and course of said agency, employment, or joint venture, with knowledge and permission and


                                                                                                                                               Page 2 of 8
                                                                                                  Case 2:23-cv-01034-GMN-BNW             Document 52         Filed 03/18/25      Page 6 of 13



                                                                                              1
                                                                                                   consent of all other named Defendants.
                                                                                              2
                                                                                                          12.      Whenever it is alleged in this Complaint that a Defendant did any act or thing, it is
                                                                                              3
                                                                                                   meant that such Defendant’s officers, agents, servants, employees, and/or representatives did such an
                                                                                              4
                                                                                                   act or thing and at the time such act or thing was done, it was done with full authorization or
                                                                                              5
                                                                                                   ratification of such Defendant or was done in the normal and routine course and scope of business, or
                                                                                              6
                                                                                                   with the actual, apparent, and/or implied authority of such Defendant’s officers, agents, servants,
                                                                                              7
                                                                                                   employees, and/or representatives. Specifically, Defendants are liable for the actions of their officers,
                                                                                              8
                                                                                                   agents, servants, employees, and representatives.
                                                                                              9
                                                                                                          13.      At all times material to this Complaint, the acts and omissions giving rise to this action
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                                                                                             10
                                                                                                   occurred in Clark County, of Nevada.
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                                                                                             11
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                                                                                                                                       GENERAL ALLEGATIONS
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                                                                                             12
                                                                                                          14.      Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
                                                                                             13
                                                                                                   through 13 of this Complaint and incorporates each as though fully set forth herein.
                                                                                             14
                                                                                                          15.      On or about February 28, 2022, Mr. Barconia was in his vehicle in the parking lot of
                                                                                             15
                                                                                                   the Premises.
                                                                                             16
                                                                                                          16.      On or about February 28, 2022, Donzell Dimitri Nevels (“Nevels”) worked as an
                                                                                             17
                                                                                                   employee of Defendant Anderson and was working at the Premises.
                                                                                             18
                                                                                                          17.      In the evening hours of February 28, 2022, Nevels encountered Mr. Barconia while
                                                                                             19
                                                                                                   Mr. Barconia was in his vehicle in the parking lot of the Premises.
                                                                                             20
                                                                                                          18.      Nevels then brandished a firearm and opened fire into Mr. Barconia’s vehicle, resulting
                                                                                             21
                                                                                                   in Mr. Barconia being shot and killed.
                                                                                             22
                                                                                                          19.      All the while, Defendants did nothing to prevent the shooting from occurring.
                                                                                             23
                                                                                                          20.      The shooting incident underlying this litigation is a direct result of Defendants’ willful
                                                                                             24
                                                                                                   disregard of their obligations under the law.
                                                                                             25
                                                                                                          21.      As a result of Mr. Barconia’s death arising out of Defendants’ despicable conduct,
                                                                                             26
                                                                                                   Plaintiff suffered injuries, damages, and pain and suffering.
                                                                                             27
                                                                                                   ///
                                                                                             28
                                                                                                   ///


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                                                                                              1
                                                                                                                                        FIRST CAUSE OF ACTION
                                                                                              2
                                                                                                                                        (Negligence – All Defendants)
                                                                                              3
                                                                                                          22.      Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
                                                                                              4
                                                                                                   through 21 of this Complaint and incorporates each as though fully set forth herein.
                                                                                              5
                                                                                                          23.      Defendants, through their acts and omissions, owed multiple duties to Mr. Barconia
                                                                                              6
                                                                                                   and to Plaintiff, including but not limited to:
                                                                                              7
                                                                                                                a. The duty to keep its patrons, invitees, customers, or people on the Premises such as
                                                                                              8
                                                                                                                   Mr. Barconia safe;
                                                                                              9
                                                                                                                b. The duty to use reasonable care to protect persons on the Premises such as Mr.
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                                                                                             10
                                                                                                                   Barconia from known dangers such as violent incidents and/or shootings;
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                                                                                             11
                                   Las Vegas, Nevada 89101




                                                                                                                c. The non-delegable duty to adequately staff security personnel throughout the Premises;
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                                                                                             12
                                                                                                                d. The duty to conduct reasonable background checks on their employees, personnel,
                                                                                             13
                                                                                                                   security personnel, vendors, agents and vendor employees;
                                                                                             14
                                                                                                                e. The duty to prevent their employees from possessing firearms while working at the
                                                                                             15
                                                                                                                   Premises;
                                                                                             16
                                                                                                                f. The duty to properly train employees, personnel, security officers, vendors, employees
                                                                                             17
                                                                                                                   of vendors, and managers/supervisors to protect patrons from dangers such as violent
                                                                                             18
                                                                                                                   incidents and/or shootings;
                                                                                             19
                                                                                                                g. The duty to provide ongoing training to employees, personnel, security officers,
                                                                                             20
                                                                                                                   vendors, employees of vendors, and managers/supervisors to protect patrons from
                                                                                             21
                                                                                                                   dangers such as violent incidents;
                                                                                             22
                                                                                                                h. The duty to use reasonable care in the hiring, supervision, training, and retention of its
                                                                                             23
                                                                                                                   employees, personnel, security officers, vendors, employees of vendors, and
                                                                                             24
                                                                                                                   managers/supervisors; and
                                                                                             25
                                                                                                                i. The duty to act in a manner that does not violate State of Nevada, City of Las Vegas,
                                                                                             26
                                                                                                                City of North Las Vegas, and/or Clark County statutes, laws, and ordinances.
                                                                                             27
                                                                                                   ///
                                                                                             28
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                                                                                              1
                                                                                                          24.      Defendants breached their duties to Mr. Barconia when they failed to provide adequate
                                                                                              2
                                                                                                   security and security personnel, and otherwise failed to take reasonable steps to protect Mr. Barconia
                                                                                              3
                                                                                                   from being shot and killed.
                                                                                              4
                                                                                                          25.      As a direct and proximate result of Defendants’ negligence, Plaintiff has been damaged
                                                                                              5
                                                                                                   in an amount greater than $15,000.00.
                                                                                              6
                                                                                                          26.      The conduct of Defendants, and each of them, individually and in concert one with
                                                                                              7
                                                                                                   another as alleged herein, was grossly negligent, willful, intentional, oppressive, malicious,
                                                                                              8
                                                                                                   fraudulent, reckless, and done in reckless disregard of the safety and rights of Mr. Barconia, thereby
                                                                                              9
                                                                                                   warranting the imposition of punitive damages.
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                                                                                             10
                                                                                                          27.      That it has been necessary for Plaintiff to retain the services of legal counsel to
VEGAS VALLEY INJURY LAW
                              710 South Seventh Street, Suite C




                                                                                             11
                                   Las Vegas, Nevada 89101




                                                                                                   prosecute this action, and Plaintiff is, therefore, entitled to reasonable attorneys’ fees and costs
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                                                                                             12
                                                                                                   associated therewith.
                                                                                             13
                                                                                                                                     SECOND CAUSE OF ACTION
                                                                                             14
                                                                                                                (Negligent Hiring, Training, Retention, and Supervision – All Defendants)
                                                                                             15
                                                                                                          28.      Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
                                                                                             16
                                                                                                   through 27 of this Complaint and incorporates each as though fully set forth herein.
                                                                                             17
                                                                                                          29.      Defendants, and each of them, selected, hired trained, supervised, directed, and/or
                                                                                             18
                                                                                                   controlled all agents, officers, servants, representatives, employees, personnel, security officers,
                                                                                             19
                                                                                                   security personnel, vendors, employees of vendors, and managers/supervisors of Defendants, and
                                                                                             20
                                                                                                   each of them, who were in any manner involved in the shooting of Mr. Barconia described herein at
                                                                                             21
                                                                                                   the Premises.
                                                                                             22
                                                                                                          30.      Defendants owed a non-delegable duty of care to Plaintiff, Mr. Barconia, and others
                                                                                             23
                                                                                                   similarly situated, to exercise due care in selecting, hiring, training, retaining, and supervising,
                                                                                             24
                                                                                                   directing, and controlling all agents, officers, servants, representatives, employees, personnel, security
                                                                                             25
                                                                                                   officers, security personnel, vendors, employees of vendors, and managers/supervisors of Defendants,
                                                                                             26
                                                                                                   and each of them, at the Premises.
                                                                                             27
                                                                                                   ///
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                                                                                              1
                                                                                                           31.       Defendants breached the non-delegable duty of care to Plaintiff, Mr. Barconia, and
                                                                                              2
                                                                                                   others similarly situated, by hiring agents, officers, servants, representatives, employees, personnel,
                                                                                              3
                                                                                                   security officers, security personnel, and/or managers/supervisors even though Defendants knew, or
                                                                                              4
                                                                                                   should have known, of the agents’, officers’, servants’, representatives’, employees’, personnel’s,
                                                                                              5
                                                                                                   security      officers’,   security   personnel’s,   vendors’,    employees’      of   vendors’,    and/or
                                                                                              6
                                                                                                   managers’/supervisors’ dangerous propensities.
                                                                                              7
                                                                                                           32.       Defendants knew, or reasonably should have known, that Defendants’ agents, officers,
                                                                                              8
                                                                                                   servants, representatives, employees, personnel, security officers, security personnel, vendors,
                                                                                              9
                                                                                                   employees of vendors, and managers/supervisors were not fit to perform the tasks regarding safety
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                                                                                             10
                                                                                                   and security to which they were assigned by Defendants.
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                                                                                             11
                                   Las Vegas, Nevada 89101




                                                                                                           33.       Defendants had the authority to supervise, prohibit, control, and/or regulate the actions
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                                                                                             12
                                                                                                   of Defendants’ agents, officers, servants, representatives, employees, personnel, security officers,
                                                                                             13
                                                                                                   security personnel, vendors, employees of vendors, and managers/supervisors at the time the actions,
                                                                                             14
                                                                                                   or inactions, were committed.
                                                                                             15
                                                                                                           34.       Defendants’ failure to exercise their non-delegable duty of care to Mr. Barconia and
                                                                                             16
                                                                                                   Plaintiff and breach of this duty did actually, proximately, and legally cause damages and injuries to
                                                                                             17
                                                                                                   Plaintiff.
                                                                                             18
                                                                                                           35.       That the damages and injuries to Plaintiff as a result of the shooting at the Premises
                                                                                             19
                                                                                                   were foreseeable at the time of Defendants’ breach of their non-delegable duty of care to Plaintiff.
                                                                                             20
                                                                                                           36.       As a direct and proximate result of Defendants’ negligent hiring, training, retention,
                                                                                             21
                                                                                                   and supervision, Plaintiff has been damaged in an amount greater than $15,000.00.
                                                                                             22
                                                                                                           37.       The conduct of Defendants, and each of them, individually and in concert with one
                                                                                             23
                                                                                                   another as herein alleged, was grossly negligent, reckless, willful, intentional, oppressive, fraudulent,
                                                                                             24
                                                                                                   malicious, and done in reckless disregard of the safety and rights of Mr. Barconia thereby warranting
                                                                                             25
                                                                                                   the imposition of punitive damages.
                                                                                             26
                                                                                                           38.       That it has been necessary for Plaintiff to retain the services of legal counsel to
                                                                                             27
                                                                                                   prosecute this action, and Plaintiff is, therefore, entitled to reasonable attorneys’ fees and costs
                                                                                             28
                                                                                                   associated therewith.


                                                                                                                                                   Page 6 of 8
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                                                                                              1
                                                                                                                                          THIRD CAUSE OF ACTION
                                                                                              2
                                                                                                                                  (Wrongful Death Against all Defendants)
                                                                                              3
                                                                                                           39.     Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
                                                                                              4
                                                                                                    through 38 of this Complaint and incorporates each as though fully set forth herein.
                                                                                              5
                                                                                                           40.     Defendants are each responsible for their willful actions and for the acts described in
                                                                                              6
                                                                                                    this Complaint.
                                                                                              7
                                                                                                           41.     Nevels, as an employee of Defendant Anderson, which was hired by, or contracted
                                                                                              8
                                                                                                    with, Defendant Walmart, used excessive force, and intentionally, wantonly, willfully, maliciously,
                                                                                              9
                                                                                                    oppressively, and without just provocation or cause proximately brought about Mr. Barconia’s death
                          Phone: 702.444.5555 • Fax: 725.800.7227




                                                                                             10
                                                                                                    and the injuries sustained by Plaintiff. Defendants ratified each other’s conduct and caused Mr.
VEGAS VALLEY INJURY LAW
                              710 South Seventh Street, Suite C




                                                                                             11
                                   Las Vegas, Nevada 89101




                                                                                                    Barconia’s death.
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                                                                                             12
                                                                                                           42.     Constance Benton is an heir within the meaning of NRS 41.085.
                                                                                             13
                                                                                                           43.     As such, Constance Benton is entitled to damages for grief, sorrow, loss of probable
                                                                                             14
                                                                                                    support, companionship, society, comfort and consortium, and for pain, suffering, and disfigurement
                                                                                             15
                                                                                                    suffered by Mr. Barconia, deceased.
                                                                                             16
                                                                                                           44.     Constance Benton, as the Special Administrator of Mr. Barconia’s Estate, is further
                                                                                             17
                                                                                                    entitled to special damages, including medical and funeral expenses.
                                                                                             18
                                                                                                           45.     Constance Benton, as the Special Administrator of Mr. Barconia’s Estate, is further
                                                                                             19
                                                                                                    entitled to exemplary and punitive damages pursuant to NRS 41.085 and NRS 42.005 et seq.
                                                                                             20
                                                                                                           46.     Plaintiff has been required to retain an attorney to prosecute this action and is entitled
                                                                                             21
                                                                                                    to their attorney’s fees and costs.
                                                                                             22
                                                                                                                                           PRAYER FOR RELIEF
                                                                                             23
                                                                                                           WHEREFORE, Plaintiff expressly reserves the right to amend this complaint prior to or at the
                                                                                             24
                                                                                                    time of trial of this action, to insert those items of damage not yet fully ascertainable, prays judgment
                                                                                             25
                                                                                                    against all Defendants, and each of them, as follows:
                                                                                             26
                                                                                                           1.      For general damages sustained by Plaintiff in an amount in excess of $15,000.00;
                                                                                             27
                                                                                                           2.      For special damages sustained by Plaintiff in an amount in excess of $15,000.00,
                                                                                             28
                                                                                                    including medical and funeral expenses;


                                                                                                                                                  Page 7 of 8
                                                                                                  Case 2:23-cv-01034-GMN-BNW             Document 52         Filed 03/18/25    Page 11 of 13



                                                                                              1
                                                                                                           3.      For punitive damages in an amount to be determined at trial;
                                                                                              2
                                                                                                           4.      For exemplary damages in a sum to be determined at trial;
                                                                                              3
                                                                                                           5.      For reasonable attorneys’ fees and costs;
                                                                                              4
                                                                                                           6.      For interest at the statutory rate; and
                                                                                              5
                                                                                                           7.      For such other relief as the Court deems just and proper.
                                                                                              6
                                                                                                           DATED this __ day of March 2025.
                                                                                              7
                                                                                                                                                   VEGAS VALLEY INJURY LAW
                                                                                              8
                                                                                                                                                     /s/ Kristopher T. Zeppenfeld
                                                                                              9
                                                                                                                                                   ___________________________________
                          Phone: 702.444.5555 • Fax: 725.800.7227




                                                                                             10                                                    KRISTOPHER T. ZEPPENFELD
VEGAS VALLEY INJURY LAW
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                                                                                             11
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                                                                                             12                                                    GARRETT B. LOGAN, ESQ.
                                                                                                                                                   Nevada Bar No. 15063
                                                                                             13                                                    gbl@vegasvalleylaw.com
                                                                                                                                                   710 South Seventh Street, Suite C
                                                                                             14                                                    Las Vegas, Nevada 89101
                                                                                                                                                   Attorney for Plaintiff
                                                                                             15

                                                                                             16
                                                                                                                                      CERTIFICATE OF SERVICE
                                                                                             17
                                                                                                           I certify that I am an employee of Vegas Valley Injury Law, and on this __ day of March
                                                                                             18
                                                                                                    2025, I caused the foregoing document entitled Second Amended Complaint was served upon those
                                                                                             19

                                                                                             20     persons designated by the parties in the E-Service Master List for the above-referenced matter.

                                                                                             21            Sarai L. Thornton, Esq.
                                                                                                           SKANE MILLS
                                                                                             22            1120 Town Center Dr., Suite 200
                                                                                                           Las Vegas, NV 89144
                                                                                             23            Attorney for Defendant Walmart
                                                                                             24
                                                                                                           Max E. Corrick, II, Esq.
                                                                                             25            Olson Cannon & Gormley
                                                                                                           9950 West Cheyenne Ave.
                                                                                             26            Las Vegas, NV 89129
                                                                                                           Attorney for Defendant Brosnan
                                                                                             27

                                                                                             28
                                                                                                                                                      /s/
                                                                                                                                                   An Employee of Vegas Valley Injury Law
                                                                                                                                                   Page 8 of 8
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